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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                Case No. CR-21-314-RAW

BRENDA BURDUE SAVAGE,

       Defendant.



                                            ORDER

       This matter came on for pretrial conference on January 21, 2022. For the reasons stated

at the hearing, the motion to recognize defense witnesses as witnesses identified with an adverse

party [Docket No. 105] is GRANTED; the motion to revoke pretrial detention order [Docket No.

108] is DENIED; and the motion in limine as to “confession” and jail call [Docket No. 109] is

MOOT as to the jail call and GRANTED in part and DENIED in part as to the “confession.”

The Defendant’s statements may be introduced, but the Government will not refer to them as a

“confession.”

        IT IS SO ORDERED this 27th day of January, 2022.


                                             ______________________________________
                                             THE HONORABLE RONALD A. WHITE
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF OKLAHOMA
